                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:
                                                        Case No.: 09-57667-wsd
      KEVIN ERNST,                                      Chapter 13
___________________________/                            Honorable Walter Shapero

                Debtor.

           OPINION ON MOTION TO SET ASIDE MAY 21, 2010, ORDER(#95)
           ALLOWING DEBTOR’S OBJECTION TO CLAIM OF MICHIGAN
          EDUCATIONAL CREDIT UNION, AND MOTION TO DEFER RULING
          ON MOTION TO DISMISS § 523 OR 727 A/P PENDING DECISION ON
                 THE MOTION TO SET ASIDE THE SAID ORDER

         Debtor filed this Chapter 13 case on June 4, 2009, proposing in the filed Plan that the second

mortgage on his residence be “modified” pursuant to an incipient to a lien strip proceeding regarding

that mortgage. That proceeding was filed on June 5, 2009, but was dismissed without prejudice on

August 4, 2009, pursuant to a July 31, 2009, stipulation saying that (a) the Plan would not strip or

modify that mortgage; (b) the pending lien strip adversary would be withdrawn without prejudice;

and (c) the second mortgagee, Michigan Educational Credit Union (“MECU”), retained the right

until completion of Debtor’s Chapter 13 plan to later file a § 523 or 727 action. On August 28,

2009, an Order confirming the Plan was entered stating that (1) the MECU mortgage was not being

stripped and would be paid outside the Plan, and (b) the stay was lifted as to a co-obligor on that

mortgage, saying that co-obligor would be making the mortgage payment directly. On March 18,

2010, the Debtor filed a Plan modification surrendering the residence to the first and second

mortgagees and the real estate tax creditor. Debtor concurrently filed an objection to the filed

MECU proof of secured claim on the ground that the mortgaged property was being surrendered

to it. A hearing was held on that claim objection resulting in an Order entered May 21, 2010, stating

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the subject claim “shall be disallowed in its entirety.” That Order was entered notwithstanding non-

compliance by the presenting Debtor with the local rule which provides that unless presentment of

an order is waived (which in this case it wasn’t), it must be presented by way of notice with an

opportunity to object to its entry.

       On April 14, 2010, Debtor had filed a second lien strip action against MECU which was

dismissed by stipulation (presumably because of the concurrent surrender of the property to the

mortgagee defendant and other lien holders). On April 6, 2012, MECU filed an adversary

proceeding under § 523(a)(2)(a) and (b). Debtor moved to dismiss it essentially on the grounds that

there was no longer any debt owed to MECU which could be the basis of such an action because of

the above noted language in the May 21, 2010, Order disallowing the claim “in its entirety.” The

Court took that dismissal motion under advisement and had not decided it when on November 5,

2012, MECU filed a Motion to Vacate and Set Aside the May 21, 2010, Order on the grounds that

(1) it was not properly presented for entry and was therefore procedurally infirm; and (2) it was

substantively inconsistent with the Court’s ruling on the objection to the claim. MECU argues that

while it no longer had a secured claim (and thus an objection to it as a secured claim was well

taken), the Court made clear at the hearing that MECU nevertheless retained an unsecured claim,

and all of the other foregoing proceedings and filed pleadings (expressly allowing for the filing of

a § 523 action until completion of the Plan for instance) are all consistent with such. Debtor argues

that Rule 60(b) does not permit the Court to now vacate the Order.

       The Court concludes as follows: (a) the language “in its entirety” without more is

sufficiently ambiguous as to make it susceptible of either a construction that the claim, secured or

unsecured, was essentially obliterated and no longer existed, or a construction, when considered in


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light of the oral arguments and the statements of the Court leading to it, that the claim was

disallowed as the secured claim it was filed as, but remained susceptible of being considered, or

amended, as an unsecured claim; and (b) the Order was proferred for entry in violation of the

presentation for entry rules, and, the Court itself compounded the problem by then mistakenly

entering it. That kind of mistake and the recited facts in the Court’s view are countenanced by the

provisions of Fed.R.Civ.P. 60(b)(1) which talks about “mistake”and within the purview of 60(b)(6)

which talks about another reason that justifies relief.

       Therefore, an order setting aside the May 21, 2010, Order is being concurrently entered.

Procedurally that means that an order effectuating the Court’s relevant ruling which led to the May

21, 2010, Order, should be presented in accordance with the presentment rules, and, if there is an

objection to it, it will be heard and the appropriate order entered in due course. Dependent, as it is,

on the substance of that order until after its entry, the Court will defer ruling on the pending

adversary proceeding dismissal motion.




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Signed on February 22, 2013
                                                              /s/ Walter Shapero
                                                          Walter Shapero
                                                          United States Bankruptcy Judge




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